     Case 18-11996-mdc               Doc 23    Filed 06/19/18 Entered 06/20/18 11:32:44                Desc Main
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                           IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE EASTERN DISTRICT OF PENNSYLVANIA

         IN RE:
              Mark D. Scott,
                             Debtor.                                     Chapter   13
         HSBC Bank USA, National Association as Trustee for
         Ellington Loan Acquisition Trust 2007-2, Mortgage               Case No.: 18—11996—mdc
         Pass-Through Certiﬁcates, Series 2007-2,
                             Movant,
         vs.
         Mark D. Scott,
                                 Debtor / Respondent,
         and
         William C. Miller,
                                 Trustee / Respondent.


                          ORDER GRANTING RELIEF FROM §362 AUTOMATIC STAY
                              AND 11 U.S.C. § 1301(c) AS TO CO-DEBTOR STAY

               ANDNOW, this            {6%    day   of (ﬂan-a                           ,20 [6/   ,it is hereby
                ORDERED that HSBC Bank USA, National Association as Trustee for Ellington Loan
       Acquisition Trust 2007-2, Mortgage Pass-Through Certiﬁcates, Series 2007-2 is hereby granted relief
       ﬁom the automatic stay provided for by 11 U. S. C. §362 as to Debtor, Mark D. Scott, and under 11 U S. C.
       § 1301(c) as to Co— Debtor, Jacqueline B. Scott, to EermJLMovant      successoxs or assigns, to take any
       and all action necessary to enforce its—n                           mr
                                                   313/36 erminedcby state'igﬁaf other applicable law with
       regard to the real property known as’énd loéated at 2990 Brambling Ln, Norristown PA 19403;

               ORDERED that Movant shall be permitted to communicate with the Debtor, Co—Debtor, and
       Debtor’s counsel to the extent necessaly to comply with applicable non-bankruptcy law; and it is further

                ORDERED that this Order is binding and effective despite any conversion of this bankruptcy
       case to a case under any other chapter of Title of the United States Code;
                                                        1 1




                                                              BY THE COURT:



                                                              HoWagdeline D. Coleman, U.S.BJ.
       cc:     Matthew C. Waldt, Esquire
               William C. Miller, Trustee
               Mark D. Scott
               Jacqueline B. Scott
